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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ORVILLE BERNARD GLAZE JR,               :
                                        :
                                                        Case No.: 1:20-cv-06118
                Plaintiff,              :
                                        :
      -against-                         :
                                        :
BENEFYTT TECHNOLOGIES INC., GAVIN :
SOUTHWELL, PAUL G. GABOS, PAUL E.       :
AVERY, ANTHONY J. BARKETT, JOHN         :
FICHTHORN, ROBERT S. MURLEY, and        :
PEGGY B. SCOTT,                         :
                                        :
                Defendants.             :
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                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

 Dated: August 26, 2020                            Respectfully Submitted,

 OF COUNSEL:                                       MONTEVERDE & ASSOCIATES PC

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